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 8                        UNITED STATES DISTRICT COURT

 9                       CENTRAL DISTRICT OF CALIFORNIA

10                                 WESTERN DIVISION

11
      BRENT SCRUGGS, on behalf of                Case No. 2:22-cv-05617
12    himself and all others similarly situated,
                                                 MARS’S MEMORANDUM OF
13
                      Plaintiff,                 POINTS AND AUTHORITIES IN
14                                               SUPPORT OF ITS MOTION TO
        v.                                       DISMISS COMPLAINT
15

16    MARS, INCORPORATED,                         Hearing Date: December 5, 2022
                                                  Time: 8:30 a.m.
17
                     Defendant                    Place: Courtroom 10B
18                                                Judge: Hon. John A. Kronstadt
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 1                                   INTRODUCTION
 2         The FDA permits the use of artificial flavoring in food. FDA regulations
 3   specify in detail how manufacturers must declare such artificial flavoring in their
 4   food labels. 21 C.F.R. § 101.22(i)(2) & (3). Mars complies with those regulations
 5   by placing the words “Artificially Flavored” before the word “CINNAMON” on
 6   the principal display panel of ALTOIDS® Curiously Strong Mints:
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15   Compl. ¶ 15.
16         Inexplicably, Plaintiff alleges that “the ‘Cinnamon’ representation on the
17   Product’s label should have been accompanied by the word ‘artificially flavored,’
18   and that Mars should be held liable because “the Product’s Cinnamon
19   representations do not have this accompanying language.” Compl. ¶¶ 26, 28.
20   Plaintiff further alleges that this labeling “lead[s] reasonable consumers to believe
21   that the Product contains cinnamon,” id. ¶ 2, notwithstanding the presence of the
22   words “Artificially Flavored” on the front of the label, and the absence of any
23   reference to cinnamon in the ingredients list on the back of the label.
24         The Complaint should be dismissed with prejudice.            First, federal law
25   preempts Plaintiff’s claims because they would impose labeling requirements that
26   are “not identical” to federal law. Second, California’s safe harbor doctrine bars
27   the claims because the Sherman Law expressly permits the use of artificial flavors
28
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 1   and specifies the manner in which they shall be declared in the labeling, and Mars
 2   complies with those legal requirements. Third, the Complaint fails to state a claim
 3   because no reasonable consumer would be deceived into believing that ALTOIDS®
 4   contain natural cinnamon when the front of the label states the exact opposite, i.e.,
 5   that the product contains “Artificially Flavored” cinnamon, and the ingredients list
 6   on the back of the label does not include any reference to cinnamon, but refers
 7   instead to “ARTIFICIAL FLAVORS.” Furthermore, Plaintiff’s equitable claims
 8   should be dismissed because he has an adequate remedy at law. Finally, Plaintiff
 9   lacks standing to seek injunctive relief because he can ascertain whether
10   ALTOIDS® contain natural cinnamon simply by looking at the front of the label
11   and seeing the words “Artificially Flavored” immediately preceding the word
12   “CINNAMON.”
13                             FACTUAL BACKGROUND
14          A.    Congress and FDA Regulate Artificial Flavoring in Food.
15         The Food, Drug, and Cosmetic Act (“FDCA”) prohibits the sale of
16   “misbranded” foods. 21 U.S.C. § 343. It delegates to FDA responsibility to
17   establish and promulgate labeling regulations to permit the lawful use of “artificial
18   flavoring.” 21 U.S.C. § 343(k). Thus, labeling of artificial flavoring in food is
19   governed by 21 C.F.R. § 101.22(i). According to that provision,
20         (i) If the label, labeling, or advertising of a food makes any direct or
21         indirect representations with respect to the primary recognizable
           flavor(s), by word, vignette, e.g., depiction of a fruit, or other means,
22         or if for any other reason the manufacturer or distributor of a food
23         wishes to designate the type of flavor in the food other than through
           the statement of ingredients, such flavor shall be considered the
24         characterizing flavor and shall be declared in the following way:
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           ...
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27        (2) If the food contains any artificial flavor which simulates,
          resembles or reinforces the characterizing flavor, the name of the food
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 1         on the principal display panel or panels of the label shall be
 2         accompanied by the common or usual name(s) of the characterizing
           flavor, in letters not less than one-half the height of the letters used in
 3         the name of the food and the name of the characterizing flavor shall
 4         be accompanied by the word(s) “artificial” or “artificially flavored”,
           in letters not less than one-half the height of the letters in the name of
 5         the characterizing flavor, e.g., “artificial vanilla”, “artificially flavored
 6         strawberry”, or “grape artificially flavored.”
     Id.
 7

 8          B.    Plaintiff’s Complaint.
 9         Plaintiff alleges that Mars violated California’s consumer protection laws by
10   labeling ALTOIDS® Curiously Strong Mints (“ALTOIDS®”) with the word
11   “CINNAMON” and a depiction of cinnamon sticks. According to Plaintiff, the
12   ALTOIDS® front label misrepresents the product and results in various types of
13   consumer fraud, unjust enrichment, and breach of an express and implied warranty.
14   Compl. ¶¶ 48–97. Specifically, Plaintiff alleges that the depiction of cinnamon
15   sticks combined with the word “CINNAMON” (together, the “Cinnamon
16   Representations”) deceives consumers into believing that ALTOIDS® contain
17   cinnamon. Compl. ¶ 2. Plaintiff claims the Cinnamon Representations are false
18   and deceptive because ALTOIDS® do not contain natural cinnamon. However, as
19   illustrated below, the front label explicitly states that ALTOIDS® are “Artificially
20   Flavored.” The back label similarly states that the product is “MADE OF: . . .
21   ARTIFICIAL FLAVORS . . .” And the ingredients list (“MADE OF”) makes no
22   reference at all to cinnamon:
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 8   Mars’s Request for Judicial Notice (“RJN”) Ex. A.
 9         Plaintiff does not (and cannot) allege that the words “Artificially Flavored”
10   fail to comply with the requirements of 21 C.F.R. § 101.22(i)(2) & (3). Instead,
11   Plaintiff inexplicably pretends that the words “Artificially Flavored” do not exist
12   on the label, Compl. ¶ 28, even though they appear in plain sight. Plaintiff then
13   claims that it would be reasonable for his imaginary consumer to (1) look at the
14   ALTOIDS® label, (2) see the words “Artificially Flavored” on the front label, (3)
15   see from the ingredients list that the product is “MADE OF: . . . ARTIFICIAL
16   FLAVORS . . .”, (4) not see any reference to cinnamon in the ingredients list, and
17   (5) still conclude that ALTOIDS® contain natural cinnamon.
18         Plaintiff asserts that if he and the putative class members had been aware
19   that ALTOIDS® do not contain natural cinnamon, they would not have purchased
20   ALTOIDS® or would have paid less for them. Compl. ¶ 34. Plaintiff seeks
21   injunctive relief, restitution, compensatory damages, treble damages, punitive
22   damages, and attorneys’ fees. Compl. (Request for Relief).
23                                  LEGAL STANDARD
24         To survive a Rule 12(b)(6) motion to dismiss, the plaintiff must allege
25   “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp.
26   v. Twombly, 550 U.S. 544, 570 (2007). “The plausibility standard . . . asks for
27   more than a sheer possibility that a defendant has acted unlawfully.” Ashcroft v.
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 1   Iqbal, 556 U.S. 662, 678 (2009). A complaint fails where it pleads facts that are
 2   “merely consistent with” a defendant’s liability.” Id.
 3         Courts determine plausibility by looking at the context of the claim as well
 4   as drawing on their own “common sense.” Id. at 679. As a result, courts can
 5   “grant a motion to dismiss based upon a review of the disputed packaging.” Adams
 6   v. Starbucks Corp., 2020 WL 4196248, at *3 (C.D. Cal. July 9, 2020); see also
 7   Weiss v. Trader Joe’s Co., 2018 WL 6340758, at *4 (C.D. Cal. Nov. 20, 2018),
 8   aff’d, 838 F. App’x 302 (9th Cir. 2021). Courts can “determine, as a matter of law,
 9   that the alleged violations of the UCL, FAL, and CLRA are simply not plausible.”
10   Hodges v. King’s Hawaiian Bakery W., 2021 WL 5178826, at *6 (N.D. Cal. Nov.
11   8, 2021). Furthermore, “there have been an ever-increasing number of cases in
12   which a motion to dismiss was found to be appropriately granted where the issue
13   was whether a product label would be deceptive or misleading to a reasonable
14   consumer.” Varela v. Walmart, Inc., 2021 WL 2172827, at *4 (C.D. Cal. May 25,
15   2021) (collecting cases).
16                                      ARGUMENT
17   I.    Federal Law Preempts Plaintiff’s Claims.
18         Federal preemption ‘“can occur in one of several ways: express, field, or
19   conflict preemption.’” Cohen v. Apple Inc., 46 F.4th 1012, 1027 (9th Cir. 2022)
20   (quoting Beaver v. Tarsadia Hotels, 816 F.3d 1170, 1178 (9th Cir. 2016). Express
21   preemption occurs when Congress “indicate[s] its intent to displace state law
22   through express language.” Chae v. SLM Corp., 593 F.3d 936, 942 (9th Cir.
23   2010). Conflict preemption occurs when state law “stands as an obstacle to the
24   accomplishment and execution of the full purposes and objectives of Congress.”
25   Ting v. AT&T, 319 F.3d 1126, 1136 (9th Cir. 2003) (citation omitted). “Under the
26   doctrine of implied conflict preemption, ‘[t]he statutorily authorized regulations of
27   an agency will pre-empt any state or local law that conflicts with such regulations
28
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 1   or frustrates the purposes thereof.’”    Cohen, 46 F.4th at 1028 (alteration in
 2   original) (quoting City of New York v. FCC, 486 U.S. 57, 63 (1988)).
 3          A.    The FDCA Expressly Preempts Plaintiff’s Claims.
 4         In 1990, Congress enacted the Nutrition Labeling and Education Act
 5   (“NLEA”), Pub. L. No. 101-535, 104 Stat. 2353 (1990), which amended the FDCA
 6   to “establish uniform national standards for the nutritional claims and the required
 7   nutrient information displayed on food labels.” Lam v. Gen. Mills, Inc., 859 F.
 8   Supp. 2d 1097, 1102 (N.D. Cal. 2012) (emphasis added; quotations omitted). The
 9   NLEA was enacted to “clarify and . . . strengthen the [FDA’s] legal authority to
10   require nutrition labeling on foods, and to establish the circumstances under which
11   claims may be made about nutrients in foods.” Capaci v. Sports Rsch. Corp., 445
12   F. Supp. 3d 607, 618 (C.D. Cal. 2020) (quoting H.R. Rep. No. 101–538, (1990),
13   reprinted in 1990 U.S.C.C.A.N. 3336, 3337) (alterations in original).          This
14   regulatory scheme is comprehensive and contains uniform food labeling
15   requirements. In re Quaker Oats Maple & Brown Sugar Instant Oatmeal Litig.,
16   2017 WL 4676585, at *4 (C.D. Cal. Oct. 10, 2017).
17         The NLEA contains several express preemption provisions. See 21 U.S.C. §
18   343-1(a). These provisions preempt state law requirements “not identical to”
19   FDA-regulated food labeling. See id. “‘[N]ot identical to . . . means that the State
20   requirement directly or indirectly imposes obligations or contains provisions
21   concerning the composition or labeling’ that are ‘not imposed or contained in the
22   applicable provision[s].’” Lam, 859 F. Supp. 2d at 1102 (alterations in original)
23   (quoting 21 C.F.R. § 100.1(c)(4)).
24         Among other things, the NLEA expressly preempts state law requirements
25   not identical to FDA regulations governing the disclosure of artificial flavoring.
26   See 21 U.S.C. § 343-1(a)(3) (citing 21 U.S.C. § 343(k) (artificial flavoring)). See
27   Viggiano v. Hansen Nat. Corp., 944 F. Supp. 2d 877, 888 (C.D. Cal. 2013)
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 1   (Section 343(k) preempts all state laws “‘directly or indirectly’” from establishing
 2   “‘any requirement for the labeling of food of the type required by section ... 343(k)
 3   of this title that is not identical to the requirement of such section.’” (alteration in
 4   original) (quoting 21 U.S.C. § 343-1(a)(5)).
 5         Plaintiff’s claims depend on this Court finding that the artificial flavoring in
 6   ALTOIDS® was not properly disclosed on the label. Accordingly, they must be
 7   predicated on an FDA violation, which the Complaint does not plausibly allege.
 8   Indeed, as demonstrated below, the product labeling complies with FDA
 9   regulations. Plaintiff’s attempt to require the disclosure of artificial flavoring in a
10   way that he prefers would impose an obligation not identical to FDA regulations.
11   “Because state-law labeling requirements must be identical to the requirements
12   under the FDCA in order to avoid preemption . . . Plaintiff’s failure to adequately
13   allege a violation of the FDCA requires dismissal.” Svensrud v. Frito-Lay N. Am.,
14   Inc., 2020 WL 8575056, at *4 (C.D. Cal. Dec. 21, 2020).
15          B.     The ALTOIDS® Label Complies with FDA Regulations.
16         The ALTOIDS® label complies with 21 C.F.R. § 101.22(i)(2) in all respects.
17   The text of this regulation states:
18         (i) If the label, labeling, or advertising of a food makes any direct or
19         indirect representations with respect to the primary recognizable
           flavor(s), by word, vignette, e.g., depiction of a fruit, or other means,
20         or if for any other reason the manufacturer or distributor of a food
21         wishes to designate the type of flavor in the food other than through
           the statement of ingredients, such flavor shall be considered the
22         characterizing flavor and shall be declared in the following way:
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           ...
24

25        (2) If the food contains any artificial flavor which simulates,
          resembles or reinforces the characterizing flavor, the name of the food
26        on the principal display panel or panels of the label shall be
27        accompanied by the common or usual name(s) of the characterizing
          flavor, in letters not less than one-half the height of the letters used in
28
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 1         the name of the food and the name of the characterizing flavor shall
 2         be accompanied by the word(s) “artificial” or “artificially flavored”,
           in letters not less than one-half the height of the letters in the name of
 3         the characterizing flavor, e.g., “artificial vanilla”, “artificially flavored
 4         strawberry”, or “grape artificially flavored.”
     Id.
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           First, according to subsection (i)(2), “the name of the food on the principal
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     display panel”—i.e., “MINTS”—“shall be accompanied by the common or usual
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     name(s) of the characterizing flavor”—i.e., “CINNAMON”—“in letters not less
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     than one-half the height of the letters used in the name of the food.” 21 C.F.R. §
 9
     101.22(i)(2). Here, the label complies with that requirement because the word
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     “CINNAMON” appears below the word “MINTS” in similar-sized (if not slightly
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     larger) font:
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20   RJN Ex. A.
21         Second, “the name of the characterizing flavor”—i.e., “CINNAMON”—
22   “shall be accompanied by the word(s) ‘artificial’ or ‘artificially flavored’, in letters
23   not less than one-half the height of the letters in the name of the characterizing
24   flavor” 21 C.F.R. § 101.22(i)(2). Here, the label complies with that requirement
25   because the words “Artificially Flavored” appear to the left of the word
26   “CINNAMON” and the letters in “Artificially Flavored” are greater than one-half
27   the height of the letters in the word “CINNAMON”:
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     RJN Ex. A.
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           Third, “Artificially Flavored” precedes the word “CINNAMON” on the
11
     label, in accordance with the express language of 21 C.F.R. § 101.22(i)(3)(i),
12
     which provides as follows:
13
           (3) Wherever the name of the characterizing flavor appears on the
14
           label (other than in the statement of ingredients) so conspicuously as
15         to be easily seen under customary conditions of purchase, the words
           prescribed by this paragraph shall immediately and conspicuously
16
           precede or follow such name, without any intervening written, printed,
17         or graphic matter, except:
18
           (i) Where the characterizing flavor and a trademark or brand are
19         presented together, other written, printed, or graphic matter that
           is a part of or is associated with the trademark or brand may
20
           intervene if the required words are in such relationship with the
21         trademark or brand as to be clearly related to the characterizing
           flavor[.]
22

23   Id. (emphases added).

24         Here, the word “CINNAMON” is “presented together” with the ALTOIDS®
25   trademark and “other written, printed, or graphic matter that is a part of or is
26   associated with the trademark or brand.” 21 C.F.R. § 101.22(i)(3)(i). Accordingly,
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 1   the regulation expressly permits graphic material “to intervene” between the words
 2   “Artificially Flavored” and “CINNAMON”:
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     RJN Ex. A.
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10         “[B]oth the FDA and courts have accepted various permutations of
11   ‘artificial,’ ‘natural,’ and ‘flavor,’” and as a result, courts “have deemed preempted
12   . . . claims based on a range of different labeling options that convey the same
13   basic idea.” In re Quaker Oats, 2017 WL 4676585, at *7. Thus, disclosing
14   artificial flavors in a product can be as simple as using the word “artificial” or the
15   words “artificially flavored” without integrating the characterizing flavor into the
16   phrase. Id. As a result, even if there were no graphic material on the ALTOIDS®
17   label, the words “Artificially Flavored” would not need to be on the same line as
18   the word “CINNAMON.” Id.; see Carrea v. Dreyer’s Grand Ice Cream, Inc., 475
19   F. App’x 113 (9th Cir. 2012); Dvora v. Gen. Mills, Inc., 2011 WL 1897349 (C.D.
20   Cal. May 16, 2011).
21         By asking the Court to enjoin Mars from making the Cinnamon
22   Representations on the label, Compl. ¶ 26, Plaintiffs “‘“seek[s] to enjoin exactly
23   what federal law expressly permits.”’” In re Quaker Oats, 2017 WL 4676585, at
24   *5 (citation omitted).   Plaintiff inexplicably overlooks the words “Artificially
25   Flavored,” in an attempt to impose his own label requirements contrary to the
26   express preemption provision that any such requirement be “identical” to the
27   federal regulation. See Dvora, 2011 WL 1897349, at *6. Because all of Plaintiff’s
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 1   claims are predicated on representations expressly required by the FDA, the claims
 2   are squarely preempted by federal law. In re Quaker Oats, 2017 WL 4676585, at
 3   *7. Specifically, “Plaintiffs’ claims, not the statutes themselves, are preempted
 4   because Defendant is in compliance with the FDCA and Plaintiffs seek causes of
 5   action on the basis of this conduct.” Id. at *6.
 6   II.   The Safe Harbor Doctrine Bars Plaintiff’s Claims.
 7         To ensure that “courts [do] not use the unfair competition law to condemn
 8   actions the Legislature permits,” the California Supreme Court has articulated what
 9   is known as the “safe harbor doctrine.” See Cel-Tech Commc’ns v. L.A. Cellular
10   Tel. Co., 973 P.2d 527, 541 (Cal. 1999). “If the Legislature has permitted certain
11   conduct or considered a situation and concluded no action should lie, courts may
12   not override that determination.” Id. In such cases, the Legislature has created a
13   “safe harbor” for the conduct at issue, and “plaintiff[] may not use the general
14   unfair competition law to assault that harbor.” Id. The safe harbor doctrine applies
15   to all the California unfair competition statutes, including the UCL, CLRA, and
16   FAL. See Ebner v. Fresh, Inc., 838 F.3d 958, 963–64 (9th Cir. 2016). Courts have
17   thus repeatedly rejected attempts to impose duties under the UCL, CLRA, or FAL
18   that are contradicted by legislative mandates on the same issue. See, e.g., Pom
19   Wonderful LLC v. Coca Cola Co., 2013 WL 543361, at *5 (C.D. Cal. Feb. 13,
20   2013) (UCL and FAL); Alvarez v. Chevron Corp., 656 F.3d 925, 933–34 (9th Cir.
21   2011) (UCL and CLRA); Bourgi v. W. Covina Motors, 83 Cal. Rptr. 3d 758, 764–
22   65 (2008), as modified on denial of reh’g (Oct. 23, 2008) (CLRA). In such cases,
23   the safe harbor doctrine renders the allegedly unfair conduct “‘fair’ as a matter of
24   law.” Davis v. HSBC Bank Nev., N.A., 691 F.3d 1152, 1166 (9th Cir. 2012).
25         Federal law expressly permits product labels to use the name and depiction
26   of a characterizing flavor, even if it is artificially flavored.      21 C.F.R. §
27   101.22(i)(2); see also Dvora, 2011 WL 1897349, at *4. So too does state law
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 1   because the Sherman Law adopts all FDA regulations as state regulations—
 2   including the FDA’s food labeling regulations. See Cal. Health & Safety Code §
 3   110100. For the same reason, the Sherman Law also expressly permits artificially
 4   flavored cinnamon to be declared in labeling in the manner described above.
 5   Supra pp 7-10. Thus, California expressly permits Mars to use artificially flavored
 6   cinnamon in ALTOIDS® and renders the representations on the label “fair as a
 7   matter of law,” whether under the UCL, CLRA, or FAL.
 8   III.   Plaintiff Fails To State a Claim.
 9           A.    Plaintiff Fails Plausibly To Allege Deception.
10          Plaintiff’s claims should be dismissed because the label is not likely to
11   deceive a reasonable consumer. To prove deception under the UCL, CLRA, and
12   FAL, Plaintiff must plausibly allege “‘that members of the public are likely to be
13   deceived.’” Becerra v. Dr Pepper/Seven Up, Inc., 945 F.3d 1225, 1228 (9th Cir.
14   2019) (citation omitted). This “reasonable consumer test” “requires more than a
15   mere possibility that [the] label ‘might conceivably be misunderstood by some few
16   consumers viewing it in an unreasonable manner.’” Id. (citation omitted). Instead,
17   it “requires a probability ‘that a significant portion of the general consuming public
18   or of targeted consumers, acting reasonably in the circumstances, could be
19   misled.’” Id. at 1229 (citation omitted); see Chuang v. Dr. Pepper Snapple Grp.,
20   2017 WL 4286577, at *6 (C.D. Cal. Sept. 20, 2017) (dismissing claim for failure to
21   make a cognizable claim that reasonable consumer could be deceived); Baltazar v.
22   Apple, Inc., 2011 WL 3795013, at *3 (N.D. Cal. Aug. 26, 2011) (same); see also
23   Freeman v. Time, Inc., 68 F.3d 285, 289–90 (9th Cir. 1995) (affirming dismissal of
24   claim on same grounds). A reasonable consumer is the “ordinary consumer,” not
25   the “least sophisticated” one. Weiss v. Trader Joe’s Co., 2018 WL 6340758, at *4
26   (C.D. Cal. Nov. 20, 2018), aff’d, 838 F. App’x 302 (9th Cir. 2021).
27

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 1         Courts have consistently held that it is not reasonable for a consumer to
 2   maintain beliefs affirmatively dispelled by a product’s front label, particularly
 3   when there is no affirmative misrepresentation. Carrea, 475 F. App’x at 115
 4   (holding that no reasonable consumer is likely to believe that “Original Vanilla”
 5   refers to a natural ingredient when that term is adjacent to the phrase, “Artificially
 6   Flavored”); see also Varela, 2021 WL 2172827, at *6 (“no reasonable consumer
 7   would believe that the Product only contains Vitamin E oil, because the front label
 8   clearly states that the Product includes keratin”).        Furthermore, if there is
 9   ambiguity on the front of such label, a reasonable consumer would be expected to
10   look on the ingredient list. See Moore v. Trader Joe’s Co., 4 F.4th 874, 882–83
11   (9th Cir. 2021) (affirming the district court where the court “concluded that, as a
12   matter of law, other available information . . . would quickly dissuade a reasonable
13   consumer” from an unreasonable belief when the product packaging was
14   ambiguous); see also Culver v. Unilever U.S., Inc., 2021 WL 2943937, at *1 (C.D.
15   Cal. June 14, 2021) (holding that the label was not “so misleading that a reasonable
16   consumer – who had a question . . . would not be expected to look at the full
17   packaging for the answer, which was clearly and correctly provided on the rear
18   label”); Pelayo v. Nestle USA, Inc., 989 F. Supp. 2d 973, 980 (C.D. Cal. 2013);
19   Kennard v. Kellogg Sales Co., 2022 WL 4241659, at *5 (N.D. Cal. Sept. 14,
20   2022).
21         Here, the front of the label clearly states, “Artificially Flavored.” Those
22   words appear to the left of the word “CINNAMON” and the depiction of cinnamon
23   sticks. No reasonable consumer would read the words “Artificially Flavored” and
24   nonetheless assume that the product contains natural cinnamon. That plain and
25   simple disclosure should end the inquiry. Yet even if there were any ambiguity,
26   the back of the packaging makes it clear that the product is “MADE OF: . . .
27   ARTIFICIAL FLAVORS . . .” and that natural cinnamon is not an ingredient:
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     RJN Ex. A.

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           Since it is not plausible that the label would deceive a reasonable consumer,

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     Plaintiff fails to state a claim under the UCL, CLRA, and FAL. And “[b]ecause

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     Plaintiff’s claims for breach of express warranty, implied warranty of

13
     merchantability, and unjust enrichment are premised on the same allegations, they

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     fail as well.” Weiss, 2018 WL 6340758, at *2; see also Hartwich v. Kroger Co.,

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     2021 WL 4519019, at *6 (C.D. Cal. Sept. 20, 2021), appeal dismissed, 2022 WL

16
     1401350 (9th Cir. Mar. 21, 2022); Varela, 2021 WL 2172827, at *9 (holding that

17
     the plaintiff’s warranty claims failed because there was no plausible deception to

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     underly the plaintiff’s UCL, CLRA, and FAL claims).

19
            B.    Plaintiff Fails Plausibly To Allege a Warranty Claim.

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           Additionally, Plaintiff fails to plead an express or implied warranty claim

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     because the label contains no “specific and unequivocal” statement that the

22
     cinnamon is naturally flavored. Kennard, 2022 WL 4241659, at *7 (N.D. Cal.

23
     Sept. 14, 2022). Nowhere on the label does it say that the product contains natural

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     cinnamon. Although Plaintiff alleges that the Cinnamon Representations create an

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     express warranty that ALTOIDS® contain cinnamon, Compl. ¶ 77, courts have

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     found that when a product’s packaging represents the characterizing flavor, it is

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     simply an indication of the product’s flavor, not its composition. In re Quaker

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 1   Oats, 2017 WL 4676585, at *8 (citing Dvora, 2011 WL 1897349, at *9);
 2   McKinniss v. Gen. Mills, Inc., 2007 WL 4762172, at *5 (C.D. Cal. Sept. 18,
 3   2007)). Consequently, “[b]ecause the express warranty claim fails as a matter of
 4   law, so does plaintiff’s implied warranty claim.” Kennard, 2022 WL 4241659, at
 5   *8.
 6          C.    Plaintiff’s Equitable Claims Must Be Dismissed Because He Has
 7                an Adequate Remedy at Law.
 8         “[E]quitable relief is not appropriate where an adequate remedy exists at
 9   law.” Schroeder v. United States, 569 F.3d 956, 963 (9th Cir. 2009). In Sonner v.
10   Premier Nutrition Corp., the Ninth Circuit held that this “federal equitable
11   principle[]” applies to California equitable claims, and that under this principle, a
12   plaintiff “must establish that she lacks an adequate remedy at law before securing
13   equitable restitution for past harm.” 971 F.3d 834, 843–44 (9th Cir. 2020). On that
14   basis, Sonner affirmed dismissal of equitable UCL, FAL, and CLRA claims
15   because the plaintiff had asserted a CLRA claim for damages, meaning she had an
16   adequate remedy at law. See id. at 837–38, 844–45. Since Sonner, numerous
17   courts have dismissed UCL, FAL, unjust enrichment, and equitable CLRA claims
18   where plaintiffs also seek damages at law and fail to include any substantive
19   allegations that they lack an adequate legal remedy. E.g., Goldstein v. GM, 2022
20   WL 484995, at *4–6 (S.D. Cal. Feb. 16, 2022); Lisner v. Sparc Grp., 2021 WL
21   6284158, at *7–8 (C.D. Cal. Dec. 29, 2021). That is the case here, where the
22   complaint alleges claims for breach of express and implied warranty, fraud, and
23   CLRA damages, (Compl. ¶¶ 48–97), requests “economic, monetary, actual,
24   consequential, compensatory, and treble damages,” as well as punitive damages,
25   (Compl. 22), and fails to allege that money damages are insufficient to remedy his
26   alleged injuries.   And, as explained below, Plaintiff lacks standing to seek
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 1   injunctive relief. Accordingly, Plaintiff has an adequate remedy at law, and the
 2   Court should dismiss all of his equitable claims.
 3   IV.   Plaintiff Lacks Standing To Seek Injunctive Relief.
 4         Plaintiff lacks standing to seek injunctive relief because he cannot show “a
 5   sufficient likelihood that he will again be wronged in a similar way.” Cordes v.
 6   Boulder Brands USA, Inc., 2018 WL 6714323, at *3 (C.D. Cal. Oct. 17, 2018). In
 7   Davidson v. Kimberly-Clark Corp., the Ninth Circuit held that an allegedly
 8   deceived consumer can establish the threat of future harm if the labeling makes
 9   false or misleading claims, and the plaintiff is left to wonder whether he can rely
10   on the product’s advertising or labeling in the future. 889 F.3d 956, 970 (9th Cir.
11   2018). As numerous district courts applying Davidson have recognized, this boils
12   down to “situations where the plaintiff could not easily discover whether a
13   previous misrepresentation had been cured without first buying the product at
14   issue.” Cordes, 2018 WL 6714323, at *4 (emphasis added); see also Cimoli, 546
15   F. Supp. 3d at 906–08; Matic v. U.S. Nutrition, Inc., 2019 WL 3084335, at *8
16   (C.D. Cal. Mar. 27, 2019); Shanks v. Jarrow Formulas, Inc., 2019 WL 7905745, at
17   *5 (C.D. Cal. Dec. 27, 2019).
18         Plaintiff cannot plausibly contest the accuracy of the “Artificially Flavored”
19   disclosure on the front label or corresponding ingredient list. He knows that he can
20   determine whether ALTOIDS® are artificially flavored by looking at either side of
21   the label. Matic 2019 WL 3084335, at *8. Accordingly, he can readily ascertain
22   whether ALTOIDS® are still artificially flavored before deciding whether to
23   purchase them again and thus lacks standing to seek injunctive relief.
24                                    CONCLUSION
25         For the foregoing reasons, Mars respectfully requests that the Court dismiss
26   Plaintiff’s Complaint with prejudice.
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 1   Dated: October 14, 2022                   Respectfully submitted,
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on October 14, 2022, I electronically filed the foregoing
 3
     with the Clerk of the Court using the CM/ECF system, which sent notification of
 4

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